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                        Exhibit 1
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               Disclosure as to Expert Witness Dawn M. Hughes, Ph.D. ABPP

                                           March 7, 2025

       I.      Qualifications and Prior Testimony

         Dr. Hughes is a clinical psychologist and a board-certified forensic psychologist, and a
leading expert on sexual abuse, interpersonal violence, victimization, and traumatic stress. Dr.
Hughes maintains an independent practice in clinical and forensic psychology, is a Clinical
Assistant Professor of Psychology in the Department of Psychiatry at Weill Cornell Medical
College, served as President of the Women’s Mental Health Consortium from 2009 to 2017, and
is the immediate past-president of the Trauma Psychology Division of the American Psychological
Association. She has published, presented, and conducted professional legal and mental health
trainings on the topics that will be the subject of her testimony. Dr. Hughes’ testimony is based
on her 25 years of clinical and forensic practice assessing victimization, her trauma-based
education and training, and an extensive study of the empirical data and social science literature
on sexual assault, interpersonal violence, victimization, coercive control, and trauma.

        Dr. Hughes’s qualifications, recent publications, and testimony in the last four years are
further described in her curriculum vitae, which is attached as an exhibit.

       II.     Statement of Opinions, Bases, and Reasons

        The following includes the anticipated opinions the Government expects Dr. Hughes will
offer regarding sexual abuse and victim responses to sexual abuse; coercive control; coping
strategies during and in relation to sexual abuse; delayed disclosure; and memory of sexual abuse.1
Dr. Hughes’s opinions are based on the totality of her relevant education, training, skills,
knowledge, and professional experience, including her assessment and treatment of patients, her
forensic assessments, her work and consultation with professional colleagues, continuing
education, and review of relevant scientific literature in her field. Dr. Hughes has not evaluated
any specific victim or evidence in the case, and the Government does not presently intend to offer
Dr. Hughes’s testimony regarding any specific victim.

                                   Sexual Abuse and Responses

        The Government expects that Dr. Hughes will testify regarding interpersonal violence in
domestic relationships. Interpersonal violence is violence or abuse committed between
individuals, including rape, sexual assault, sexual harassment, or intimate partner violence, among
others. Interpersonal violence also refers to dynamics related to coercion and emotional abuse that
may not necessarily involve physical violence as commonly understood. Sexual assault refers to
contact and noncontact sexual violations. A contact sexual violation is when one individual has


1
  The defense has not yet provided notice of any testimony under Federal Rule of Criminal
Procedure 16(b)(1)(C). To the extent such timely notice is provided, the Government will
supplement this notice to include a statement of opinions it will elicit during its rebuttal to counter
that testimony, as required by Federal Rule of Criminal Procedure 16(a)(1)(G).
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physical contact with another in a sexual manner without the second individual’s consent, either
because the individual has not given consent, has been subject to trauma-coerced persuasion, or
because they are incapable of consent. Contact sexual violations can also occur when a perpetrator
directs unwanted sexual contact between the victim and a third-party. A non-contact sexual
violation is limited to acts that do not involve physical contact, such as acts of voyeurism.2

        The majority of sexual assaults are committed by someone known to the victim rather than
a stranger. Perpetrators often exploit preexisting power differentials between themselves and their
victims for the purpose of perpetuating sexual abuse and preventing disclosure.

                                        Coercive Control

        The Government expects that Dr. Hughes will testify about coercive control as a tactic of
victimization (i.e. the state or process of becoming a victim) and a strategy to gain dominance
across a spectrum of relationships. Coercive control refers to a strategic pattern of behavior that
is designed to attain and maintain control in a relationship. Dr. Hughes’s testimony is expected to
explain how the overarching dynamic of victimization is an abuse of power and control where the
perpetrator engages in self-centered behavior to satisfy his own goals and desires regardless of the
needs, wants, and well-being of the victim. Although coercive control is commonly discussed in
the context of intimate partner violence, the use of coercive control strategies can be used by
perpetrators to gain and maintain control in a broad range of interpersonal relationships, including
employment relationships, among others.3

        Coercive control often includes a variety of physical, sexual, and/or emotional tactics that
together function to control the victim. More specifically, Dr. Hughes will explain that these
tactics may include, among other things, the following: actual or threatened physical violence;
aggression; sexual assault and abuse, sexual degradation; micro-regulation; financial and
economic control; control over reproductive health; control through the use of drugs or alcohol;
physical and emotional isolation from preexisting support networks and external influence; use of
collateral or damaging or compromising information; exploitation of preexisting psychological,
traumatic, or financial vulnerability; psychological degradation and humiliation; gaslighting; and
surveillance techniques limiting privacy and independent thought, and instilling the belief that the
perpetrator is omnipresent. These abusive techniques function to suppress an individual’s freedom
and autonomy.

      Dr. Hughes will testify that some of these coercive control tactics can be subtle and not
immediately obvious to the lay observer, although they may be used in conjunction with more


2
  Basile, K.C., Smith, S.G., Kresnow, M., Khatiwada S., & Leemis, R.W. (2022). The National
Intimate Partner and Sexual Violence Survey: 2016/2017 Report on Sexual Violence. Atlanta,
GA: National Center for Injury Prevention and Control, Centers for Disease Control and
Prevention.
3
  Evan Stark (2007). Coercive Control: How Men Entrap Women in Personal Life. Oxford
University Press; Dutton & Goodman. (2005) Coercion in intimate partner violence: Toward a
new conceptualization. Sex Roles, 52(11-12).
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tangible physically violent behaviors. She will further testify that perpetrators of domestic
violence often use particular coercive control tactics that are targeted to exploit the vulnerabilities
of their specific victim. As a result, the tactics are not one-size-fits-all and may be difficult for an
outside observer to understand.

       With respect to sexual abuse, coercive control may include the perpetrator causing the
victim to engage in sexual activity in which they would not otherwise engage for fear of the
negative consequences if they refused. This may include risky sexual activity, such as unprotected
sex with multiple partners, and sex acts with third parties in the perpetrator’s presence.

        As a result of coercive control, an abuser can create an environment of fear and obedience
that impacts a victim’s decision-making and free will, as well as manipulates the victim’s
emotions. A perpetrator’s coercive tactics and abuse are often interspersed with rewards,
positivity, affection, and normalcy, which can create emotional attachment and psychological
dependency. As a result of intimate partner abuse and coercive control, victims of domestic
violence may stay with or return to, rather than leave, their abusers. This can result from a victim’s
feeling of psychological entrapment due to deterioration of the psychological functioning of the
victim. Dr. Hughes will testify that there are multiple psychological reasons why victims may
express love, tenderness, or loyalty for their abuser in the face of fear or violence and why victims
face obstacles to leaving an abusive relationship. These can include fear, not wanting to get their
abuser in trouble, love and emotional attachment, and material reasons such as financial
dependence.4

       Some examples of emotional bonds include a trauma bond, which is a psychological
dependence on one’s abuser created by an abuser’s intermittent use of reward and punishment, and
predatory helpfulness. An intense psychological attachment can also occur when a perpetrator
manipulates a victim with “love bombing” followed by violence and/or abuse.5

        Dr. Hughes will also testify that abusers may escalate coercive control tactics if they feel
they are going to lose the victim or if the victim is trying to leave. These escalated tactics can
include use of force and threats of violence, as well as seduction, positive validation, and other
romantic tactics. The combination of violence and romance creates psychological confusion for
the victim, which further impacts their ability to leave.




4
  Barnett O.W. (2001). Why Battered Women Do Not Leave, Part 2: External Inhibiting Factors—
Social Support and Internal Inhibiting Factors. Trauma, Violence, & Abuse, 2(1), 3 – 35; Dutton,
M.A. (1992). Empowering and healing the battered woman: A model for assessment and
intervention. New York, NY: Springer Publishing Company.
5
  Doychaka, K. & Raghavan, C. (2023). Trauma-coerced attachment: Developing DSM-50’s
dissociative disorder “identity disturbance due to prolonged and intense coercive persuasion.”
European Journal of Trauma & Dissociation, 7(2).
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                  Coping Strategies During and In Relation to Sexual Abuse

        Dr. Hughes will speak about a broad range of defense mechanisms and coping strategies
commonly used by victims in response to sexual abuse.6 These strategies function to allow the
individual to maintain an attachment to and/or relationship with the perpetrator, and to put aside
and protect themself from painful and frequently overwhelming psychological distress. Victims
often fall back on ingrained responses to power in order to stay safe, such as attempting to please
or placate the abuser, bargaining with the perpetrator, compliance with demands and expectations,
and/or remaining silent. In addition, the victim may engage in avoidance, compartmentalization,
minimization, directed forgetting, making excuses for others, self-blame, and denial. Victims may
also seek to numb and minimize painful sexual and abusive experiences through the use of
substances, such as drugs and alcohol. When talking about their experiences of sexual abuse,
individuals typically will not use words such as sexual assault or rape and will use minimizing or
distancing language such as an unwanted or uncomfortable sexual experience.

       Commonly, victims experience a sense of mental defeat upon realizing they are unable to
prevent the abuse or its continuation and escalation. While most victims use some form of verbal
response to communicate non-consent, other behavioral responses that communicate lack of
consent commonly include habitual responses to power, such as engaging in polite resistance, and
attempts to persuade, deflect, or convince the perpetrator to stop.

                                        Delayed Disclosure

        Dr. Hughes will testify about what might prompt a victim to disclose abuse that had
previously remained secret. The disclosure of abuse is a process that occurs over time and delayed
disclosure is common. Both external and internal barriers to disclosure of sexual abuse have been
identified. External barriers refer to others’ perceptions and anticipated reactions to them, such as
fear of getting into trouble if they tell someone, fear that others will blame or judge them, fear of
not being believed, or fear that the perpetrator will get in trouble. Internal factors have more to do
with the victim’s own feelings that inhibit disclosure, such as shame, guilt, humiliation, self-blame,
confusion, and inability to recognize that they have been victimized.7

       Research has consistently shown that sexual abuse is considered among the most
underreported crimes.8 Victims often experience intense shame and embarrassment, self-doubt,
psychological confusion, and self-blame, as well as fear of retaliation or fear of being disbelieved,
which can also contribute to their decision whether or not to disclose abuse, and with whom they

6
 Dworkin, E. R., Jaffe, A. E., Bedard-Gilligan, M., & Fitzpatrick, S. (2023). PTSD in the Year
Following Sexual Assault: A Meta-Analysis of Prospective Studies. Trauma, Violence & Abuse,
24(2), 497–514.
7
 Ullman, S., O’Callaghan, E., Shepp, V., & Harris, C. (2020). Reasons for and Experiences of
Sexual Assault Nondisclosure in a Diverse Community Sample. Journal of Family Violence, 35,
839–851.
8
 Tapp, S. & Coen, E. (2024). Criminal Victimization, 2023. U.S. Department of Justice, Office
of Justice Programs, Bureau of Justice Statistics Bulletin, NCJ309335.
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discuss their experiences. When individuals do disclose and talk about their experiences of sexual
abuse and sexual assault, they are most likely to talk with a close friend or family member.

        The relationship between the victim and the perpetrator also has been demonstrated to
impact the disclosure process. The nature of the relationship between victim and perpetrator can
function to obscure or inhibit the victim’s ability to recognize and label sexual abuse as such. The
closer the relationship between the victim and the perpetrator, the less likely the victim is to
recognize or label what happened as sexual abuse. A relationship of trust and/or a power
differential between the perpetrator and the victim can also increase the likelihood that a victim
will not disclose or delay disclosure. Gendered norms, tradition, and culture can also influence a
victim’s response to sexual abuse and the disclosure process.

                                              Memory

        Dr. Hughes will also describe some features of how victims recollect sexual abuse.
Traumatic stress is a psychological response to exposure to an extreme or severe stressor, such as
actual or threatened death, serious injury, or sexual violence. Because of traumatic stress, abuse
memories can be retained but also may be lost or fragmented.9 While most victims are aware of
the central detail that they were abused, their memories of precise or peripheral details may be
incomplete, including details about the sequence of events. This may be the result of common
psychological defense mechanisms to trauma such as dissociation, suppression, avoidance,
directed forgetting, or compartmentalization.10 The goals of these trauma-related defenses are to
avoid experiencing distressing memories, thoughts, and feelings about the victimization, and to
regulate emotion. When these strategies are used repeatedly over time, they can become habitual
and automatic, and they have been found to cause voluntary and involuntary forgetting and deficits
in recall, even of central details. As recognized in the Diagnostic and Statistical Manual of Mental
Disorders, a criterion of Posttraumatic Stress Disorder is the inability to recall an important aspect
of a traumatic event.11 This happens across trauma groups, including victims of sexual abuse and
intimate partner violence. Memories of experiences of sexual abuse are also influenced by factors
such as the relationship between the perpetrator and the victim, the context in which the abuse
occurred, the specific nature of the abuse, and the frequency of the sexual abuse incidents.

        As a result of trauma, and particularly when a person employs dissociation during the
event, memories of abuse may get encoded as flashbulbs, or fragments of memory, without a clear
linear or coherent narrative. Similarly, in circumstances of repeated assault, victims may not have
the capacity to recall each isolated incident. Rather, the details of the assaults may blend together


9
 Iffland, B. & Neuner, F. (2016). Trauma and Memory, in G. Fink (Ed.) Stress: Concepts,
Cognition, Emotion, and Behavior, (p.161-167). San Diego, CA: Academic Press.
10
  Dalenberg, C. (2006). Recovered Memory and the Daubert Criteria. Recovered Memory as
Professionally Tested, Peer Reviewed, and Accepted in the Relevant Scientific Community.
Trauma, Violence, & Abuse, 7(4), 274-310.
11
  American Psychiatric Association. (2022). Diagnostic and Statistical Manual of Mental
Disorders, Fifth Edition, Text Revision. Washington: American Psychiatric Association.
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due to the frequency of the abuse. As a result, a victim of repeated sexual abuse may not be able
to recall the time, place, occurrence, and other details regarding the traumatic incident. A victim
may work to retrieve memory over time. Recalling trauma memories is highly context specific
and may be activated by retrieval cues (i.e. other thoughts and memories), which can then trigger
additional details of their victimization.




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                                Curriculum Vitae
                          Dawn M. Hughes, Ph.D. ABPP
                                      2025

CURRENT POSITIONS

1998 - Present        Independent Practice in Clinical and Forensic Psychology
                      Specialization in Traumatic Stress, Interpersonal Violence, and
                      Anxiety Disorders

2010 - Present        Clinical Assistant Professor of Psychology in Psychiatry
                      Weill Cornell Medical College - New York Presbyterian Hospital
                      New York, NY

EDUCATION

1996                  Doctor of Philosophy (Ph.D.) in Clinical Psychology
                      Nova Southeastern University, Fort Lauderdale, FL

1992                  Master of Science (M.S.) in Clinical Psychology
                      Nova Southeastern University, Fort Lauderdale, FL

1988                  Bachelor of Arts (B.A.) in Psychology
                      Hamilton College, Clinton, NY

PROFESSIONAL TRAINING

9/96 - 9/97           Postdoctoral Fellow - Research Associate in Psychiatry
                      Weill Cornell Medical College - New York Presbyterian Hospital
                      Anxiety and Traumatic Stress Program - Payne Whitney Clinic
                      New York, NY

6/94 - 6/95           Predoctoral Intern
                      Yale University School of Medicine - Department of Psychiatry
                      Substance Abuse Treatment Unit and West Haven Mental Health Clinic New
                      Haven, CT

LICENSURE & BOARD CERTIFICATION

1997    New York Licensed Psychologist
2005    Board Certification in Forensic Psychology - American Board of Professional Psychology
2015    Connecticut Licensed Psychologist
2015    North Carolina Licensed Psychologist
2024    New Jersey Licensed Psychologist

PROFESSIONAL AFFILIATIONS

American Psychological Association (APA)
      American Psychology and Law Society
      Division of Trauma Psychology
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        Psychologists in Independent Practice
        Society for the Psychology of Women
New York State Psychological Association (NYSPA)
American Board of Professional Psychology (ABPP)
Fellow – American Academy of Forensic Psychology (AAFP)
International Society for Traumatic Stress Studies (ISTSS)
Anxiety Disorders Association of America (ADAA)
Women’s Mental Health Consortium (WMHC)
International Society for the Study of Trauma and Dissociation (ISSTD)

PROFESSIONAL ACTIVITIES

American Psychological Association (APA)
      President – Division of Trauma Psychology – 2023
      Executive Board – Division of Trauma Psychology - 2022-present
      Council of Representatives – Division of Trauma Psychology – 2018-2020
      Member-at-Large – Division of Trauma Psychology – 2013-2014
      Leadership Institute for Women in Psychology – 2011-2012
      Awards Chair - Division of Trauma Psychology – 2010-2012
      Convention Program Co-Chair – Division of Trauma Psychology 2008-2010

Women’s Mental Health Consortium
     President - 2009-2017
     Membership Chair - 2007-2009

International Society for Traumatic Stress Studies (ISTSS)
        Program Committee 2001

CLINICAL EXPERIENCE

1/97 - 9/97            Clinical Diagnostic Interviewer
                       Rockefeller University-Laboratory of Human Neurogenetics, NY, NY

9/92 - 8/93            Psychology Extern
                       Veterans' Administration Outpatient Clinic, Oakland Park, FL

9/91 - 8/92            Psychology Extern
                       Family Violence Program, Nova University, Fort Lauderdale, FL

9/90 - 6/91            Psychology Trainee
                       Nova University Community Mental Health Center, Lauderhill, FL

5/91 - 11/91           Crisis Clinician
                       Nova University Crisis Services, Fort Lauderdale, FL

5/89 - 7/90            Legal Services Assistant
                       The Legal Aid Society - Federal Defenders Services Unit, New York, NY

5/88 - 5/89            Substance Abuse Counselor
                       Narco Freedom, Bronx, NY
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10/87 - 5/88             Field Study Intern
                         Central New York Psychiatric Center, Marcy, NY

TEACHING EXPERIENCE

2002 - 2010              Clinical Instructor of Psychology in Psychiatry
                         Weill Cornell Medical College, New York, NY
                         New York Presbyterian Hospital - Payne Whitney Clinic

1998 - 2000              Consultant: Professional Development, Education and Training
                         Victim Services, New York, NY

9/92 - 12/92             Teaching Assistant
9/93 - 12/93             Nova Southeastern University, Fort Lauderdale, FL
                         Courses: Advanced Research Design and Intermediate Statistics

RESEARCH EXPERIENCE

5/92 - 5/94              Research Coordinator
                         Sexual Abuse Survivors Program
                         Nova University Community Mental Health Center, Fort Lauderdale, FL

9/91 - 5/94              Research and Statistical Consultant
                         Nova University - Fort Lauderdale, FL

PUBLICATIONS

Blackman, J and Hughes, D. (June 2024). The influence of the internet on justice, especially in high-
profile cases — including the Trump trials. The Champion (Magazine of the National Association of
Criminal Defense Lawyers), Washington, DC

Tardiff, K. and Hughes, D.M. (2011). Structured and clinical assessment of risk of violence. In
Drogin et al. (Eds.) Handbook of Forensic Assessment: Psychiatric and Psychological Perspectives, John Wiley &
Sons, Inc., New Jersey

Hughes, D.M. & Cloitre, M. (1999). Rape and sexual assault among adult women. In K. Tardiff
(Ed.). Medical Management of the Violent Patient, Marcel Dekker, Inc., New York

Gold, S.N., Hughes, D.M. & Swingle, J. (1999). Degrees of memory of childhood sexual abuse
among women survivors in therapy. Journal of Family Violence, 14, 35-46.

Gold, S.N., Elhai, J., Lucenko, B.A., Swingle, J.M., & Hughes, D.M. (1998). Abuse characteristics
among childhood sexual abuse survivors in therapy: A gender comparison. Child Abuse and Neglect,
22, 1005-1012.

Hughes, D.M. (1996). Memory for childhood sexual abuse: Prevalence and relationship to abuse
characteristics and psychological effects. Doctoral dissertation.
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Gold, S.N., Hughes, D.M. & Swingle, J. (1996). Characteristics of childhood sexual abuse among
female survivors in therapy. Child Abuse and Neglect, 20, 323-335.

Gold, S.N., Hughes, D.M. & Hohnecker, L. (1994). Degrees of repression of sexual abuse
memories. American Psychologist, 49, 441-442.

PROFESSIONAL PRESENTATIONS

Hughes, D.M. (December 6, 2024).Forensic Assessment of Trauma in Civil and Criminal Cases. Continuing
Education Webinar - Trauma Training Series - Nova Southeastern University – College of
Psychology

Hughes, D.M. (August 2023). APA Trauma Psychology Division Presidential Address - Trauma Healing and
Recovery: What Really Matters. Presentation at the 131st Annual Convention of the American
Psychological Association, Washington, DC

Hughes, D.M. (December 15, 2022). Intimate Partner Violence: Challenges in Assessment and Treatment.
Psychology Grand Rounds Presentation. Weill Cornell Medicine - Department of Psychiatry, New
York, NY

Hughes, D.M. and Rocchio, L.M. (August 2014). Essentials of Forensic Assessment of Trauma in Criminal
and Civil Matters. Presentation at the 122nd Annual Convention of the American Psychological
Association, Washington, DC

Hughes, D.M. (November 2013). It Matters: The Developmental Lifespan of the Trauma Therapist.
Symposium presentation at the 30th Annual Meeting of the International Society for the Study of
Trauma and Dissociation, Baltimore, MD

Hughes, D.M. (November 2011). Conceptualization of Complex Trauma and PTSD in Forensic Matters.
Panel presentation at the 27th Annual Meeting of the International Society of Traumatic Stress
Studies, Baltimore, MD

Hughes, D.M. (August 2011). Assessment of Complex Trauma in a Forensic Setting.
Presentation at the 119th Annual Convention of the American Psychological Association,
Washington, DC

Hughes, D.M. (June 2011). What Every Psychologist Needs to Know About Trauma. Workshop
presentation at the New York State Psychological Association Annual Conference, New York, NY

Hughes, D.M. (March 2011). Vicarious Traumatization in Forensic Practice: Why Does It Matter?
Presentation at the American Psychology and Law Annual Conference, Miami, FL

Hughes, D.M. and Rocchio, L.M. (November 2010). Forensic Assessment of Psychological Trauma and
PTSD. Workshop presented at the 26th Annual Meeting of the International Society of Traumatic
Stress Studies, Montreal, Canada

Hughes, D.M. (August 2010). Ethical Dilemmas and Professional Considerations for Working with the Adult
Survivor of Sexual Abuse: Forensic Psychology. Presentation at the 118th Annual Convention of the
American Psychological Association, San Diego, CA
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Hughes, D.M., Courtois, C., Walker, L.E., and Vasquez, M. (August 2009). Trauma treatment in
independent practice: Principles and resources. Workshop presented at the 117th Annual Convention of the
American Psychological Association, Toronto, Canada

Hughes, D.M. (August 2008). Difficulties and dilemmas when dissociation is present in forensic cases.
Presentation at the 116th Annual Convention of the American Psychological Association, Boston,
MA

Hughes, D.M. (November 2007). Forensic issues in the assessment of trauma. International Society for
Trauma and Dissociation 24th Annual Conference, Philadelphia, PA

Hughes, D.M. (November 2000). Multi-method approach to assessment in forensic evaluations. In
A. Pratt (Chair) Forensic assessment and testimony: Psychological trauma. A workshop presentation at the
16th Annual Meeting of the International Society for Traumatic Stress Studies, San Antonio, TX.

Hughes, D.M. (August 1999). Training in interpersonal violence: The next generation. Presentation at the
American Psychological Association Annual Convention, Boston, MA.

Gold, S.N., Hughes, D.M. & Swingle, J. (November 2000). Memory for childhood sexual abuse: A matter
of semantics. Panel presentation at the 16th Annual Meeting of the International Society for
Traumatic Stress Studies, San Antonio, TX.

Hughes, D.M. & Gold, S.N. (November 1997). Memory for childhood sexual abuse and adult
symptomatology. Poster session presented at the 13th Annual Meeting of the International Society for
Traumatic Stress Studies, Montreal, Canada.

Hughes, D.M., Cloitre, M., Hand, R., Klein, C., Herwitz, J., Bleiberg, K. & Pessier, J. (November
1997). Role functioning impairment in CSA-related PTSD. In D.M. Hughes (Chair), Role functioning
impairment among women with childhood sexual abuse-related PTSD. Symposium presentation at the 13th
Annual Meeting of the International Society for Traumatic Stress Studies, Montreal, Canada.

Cloitre, M., Hughes, D.M. & Hand, R. (November 1997). A two-phase treatment for CSA-related
PTSD: Rationale and preliminary results. In D.M. Hughes (Chair), Role functioning impairment among
women with childhood sexual abuse-related PTSD. Symposium presentation at the 13th Annual Meeting of
the International Society for Traumatic Stress Studies, Montreal, Canada.

Klein, C., Hughes, D.M. & Cloitre, M. Ethnocultural considerations in the assessment of PTSD in survivors of
sexual assault. (November 1997). Poster presentation at the Annual Meeting of the Association for
the Advancement of Behavioral Therapy, Miami, FL.

Gold, S.N., Hughes, D.M. & Swingle, J. (July 1995). Degrees of memory of childhood sexual abuse among
female survivors in therapy. Paper presented at the 4th International Family Violence Research
Conference, Durham, NH.

Stear, C.A., Gold, S.N., & Hughes, D.M. (November 1994). Family of origin atmosphere of sexual abuse
survivors, distressed, and non-clinical families. Paper presented at the Illinois Psychological Association
Annual Convention, Chicago, IL.
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Gold, S.N., Williamson, C. & Hughes, D.M. (March 1994). Male sexual abuse survivors: Integrating
empirical and clinical findings. Paper presented at the Mid-Winter Convention of APA Divisions 29, 42,
& 43.

Hughes, D.M., Bramson, J., Galper, L., Gelpi, H., Rubenstein, F & Dutton, M.A. (June 1992).
Training in the context of relationships: A model for the family violence clinician. Paper presented at the First
World Congress of the International Society for Traumatic Stress Studies, Amsterdam, The
Netherlands.

INVITED ADDRESSES

Hughes, D.M., Rocchio, L.M., & Bailey, T. (August 3, 2023). The Varied Roles of the Forensic Psychologist
in Civil and Criminal Cases Involving Interpersonal Violence. APA Trauma Psychology Division suite
presentation at the American Psychological Association Annual Convention. Washington, D.C.

Hughes, D.M. (October 22, 2022). COVID-19 and the Evolving Workplace: Understanding the Psychology,
In Brief. Psychological Issues in the Workplace 2019. Practicing Law Institute, New York, NY

Hughes, D.M. & Punzo, J. (August 6, 2022). Creating and Sustaining a Trauma-Focused Private Practice.
APA Division 56 – Trauma Psychology suite presentation at the American Psychological
Association Annual Convention. Minneapolis, MN.

Hughes, D.M. (August 4, 2022). Bringing Trauma Psychology to the Courtroom. APA Division 56 –
Trauma Psychology suite presentation at the American Psychological Association Annual
Convention. Minneapolis, MN.

Hughes, D.M. (October 29, 2020). Thriving Not Surviving: The Legal System and How to Allow Sexual
Assault Victims to Become Survivors. The Association of the Bar of the City of New York. New York,
NY

Hughes, D.M. (October 29, 2020). Intimate Partner Violence: Understanding Women’s Use of Force. In
CLE program, 2020 Judicial Symposium on Domestic Violence – Keynote Webinar Series. New
York States Courts Office of Policy and Planning. New York, NY

Hughes, D.M. (September 17, 2019). Mental Health Issues and the Workplace. In CLE program, The
Interplay of Mental Health Disabilities and Workplace Accommodations. New York City Bar
Association, New York, NY

Hughes, D.M. (April 3, 2019). Psychological Issues in the Workplace 2019. Practicing Law Institute, New
York, NY

Hughes D.M. (June 8, 2018). Trauma and the Courtroom. Alumni College Speaker. Hamilton College,
Clinton, NY

Hughes, D.M. (February 2, 2018). Domestic Violence 2018: Survivors as Defendants, Respondents, and Parole
or Clemency Applicants. Practicing Law Institute, New York, NY

Hughes, D.M., & Rocchio, L.M. (August 6, 2016). Forensic work with trauma populations. APA
Division 56 – Trauma Psychology suite presentation at the American Psychological Association
Annual Convention. Denver, CO
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Hughes, D.M., Courtois, C., & Brown, L. (August 5, 2016). Establishing a clinical practice in trauma
psychology. APA Division 56 – Trauma Psychology suite presentation at the American Psychological
Association Annual Convention. Denver, CO

Hughes, D.M. (September 16, 2015 and October 7, 2015). Interpersonal Violence, Trauma, and the
Courtroom in Understanding the Ties that Bind: Judicial Responses to Domestic and Sexual Violence. Judicial
Training -New York Unified Court System - Domestic Violence Task Force. White Plains and
Rochester, New York.

Dutton, M.A. and Hughes, D.M. (April 13, 2015). Expert Witness Testimony in Cases Involving Domestic
Violence. Webinar conducted for the National Clearinghouse for the Defense of Battered Women.

Hughes, D.M. (September 2012). The Relationship Matters: Maximizing Success. Presentation to
attorneys at Outten and Golden, LLP. New York, NY

Hughes, D.M. (June and August 2012). Promoting Healthy Relationships: Living Without Violence and
Abuse. Professional training presented to the United States Army National Guard. Fort Hamilton,
NY

Hughes, D.M. (July 2011). Remaining Civil with the Uncivil. College of Labor and Employment
Lawyers. EEOC. New York, NY

Hughes, D.M. (March 2011). The Victim of Interpersonal Violence and the Courtroom. Judicial
Commission on Women in the Courts invited Continuing Legal Education seminar. Brooklyn, NY

Hughes, D.M. (November 2010). The Use of Psychological Experts in Cases of Domestic Violence. Invited
Continuing Legal Education seminar presented at the Kings County Criminal Bar Association,
Brooklyn, NY

Hughes, D.M. (July 2010). Ethics and Risk Management in the Practice of Psychotherapy. Invited
presentation at the Women’s Mental Health Consortium Quarterly Meeting, New York, NY

Hughes, D.M. (January 21 and 22, 2010). Understanding Domestic Violence. Professional training in
Advocating for Children in Cases of Domestic Violence by the New York Appellate Divisions and
the New York State Office of Court Administration. New York City and White Plains.

Hughes, D.M. (2009). The victim of interpersonal violence and the courtroom: Strategies for understanding.
Manhattan Integrated Domestic Violence Courts Continuing Legal Education Seminar (February
2009); Appellate Division Fundamental Training Series (May 2009 and January 2010); Queens
County Family Court Continuing Legal Education Seminar (June 2009).

Hughes, D.M. (March 2008). Collision course of children’s wishes, best interests, and domestic violence. Invited
presentation and the Twelfth Annual Conference on Domestic Violence. Fordham Law School,
New York, NY

Hughes, D.M. (March 2007). The inconvenient truths of domestic violence. Invited address at the Eleventh
Annual Conference on Domestic Violence. Fordham Law School, New York, NY

Hughes, D.M. (June 2006). Issues and dilemmas in interpersonal violence. Invited presentation at STEPS
to End Family Violence. New York, NY.
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Hughes, D.M. (December 2001). Relevance of domestic violence in the courtroom: Expert testimony in a duress
case. Chairperson of a mock trial continuing education seminar at the 17th Annual Meeting of the
International Society of Traumatic Stress Studies, New Orleans, LA.

Hughes, D.M. (September 2001). Psychological assessment in the aftermath of the World Trade Center disaster.
Emergency meeting of the New York Chapter of the International Society of Traumatic Stress
Studies. New York, NY.

Hughes, D.M. (April 2001). Moving beyond domestic violence 101: Challenges and solutions.
Invited presentation in J. Pearl and S. Herman (Chairs), Violence and the Family: Current legal and mental
health perspectives. Association of the Bar of the City of New York, New York, NY.

Hughes, D.M. (June 2000). Psychological testing in forensic evaluations. Invited presentation in
symposium, M. Dowd (Chair) Psychological evidence in plea negotiations and sentencing. Association of the
Bar of the City of New York, New York, NY.
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                                 COURT APPEARANCES and DEPOSITIONS
                                             2021 to 2025


   1.
MATTER                                                 STATE             COUNTY                     DATE
Vernon Horn v. City of New Haven et al.                                  United States District
      2.                                               Connecticut                                  January 4, 2021
(deposition)                                                             Court - Connecticut
                                                                         United States District
                                                                                                    September 17 & 20,
United
     3. States v. Robert Sylvester Kelly               New York          Court – Eastern
                                                                                                    2021
                                                                         District of New York
                                                                         United States District
United
     4. States v. Lawrence Ray                         New York          Court –Southern            March 14 & 15, 2022
                                                                         District of New York
John 5.
     C. Depp, II v. Amber Laura Heard (deposition)     Virginia          Fairfax                    March 28, 2022
John 6.
     C. Depp, II v. Amber Laura Heard                  Virginia          Fairfax                    May 3, 4, & 26, 2022
W.M.7.v. Warren County                                 New Jersey        Warren                     June 16, 2022
                                                                         United States District
Lynda Cutbill v. Cold Spring Harbor Central
    8.                                                 New York          Court – Eastern            October 14, 2022
School District et al. (deposition)
                                                                         District of New York
                                                                         United States District
Susan Sandler v. Cold Spring Harbor Central
     9.                                                New York          Court – Eastern            October 17, 2022
School District et al. (deposition)
                                                                         District of New York
State 10.
      of New York v. Lucas Mowngly                     New York          Kings                      December 12, 2022
State 11.
      of New York v. Benjamin Collazo                  New York          Kings                      January 19, 2023

State 12.
      of New York v. Basheir Wahib                     New York          Kings                      April 3, 2023
T.B. v New Jersey Dept of Human Services, et al.
      13.                                              New Jersey        Monmouth                   April 24, 2023
(deposition)
                                                                         United States District
                                                                         Court
Jane Doe v Order of St. Benedict et al.
                                                       Rhode Island      – District of Rhode
Jane Doe
      14. v. Lewis Roca et al.                                                                      May 22, 2023
                                                       New Mexico        Island
(deposition)
                                                                         - District of New
                                                                         Mexico
                                                                         United States District
United
     15.States v. Vernon Copeland                      New York          Court –Southern            July 12, 2023
                                                                         District of New York
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   1.
MATTER                                                STATE           COUNTY                   DATE
Casey Casserino v. Hartford Healthcare                                Superior Court of
     16.                                              Connecticut                              February 23, 2024
Corporation, et al. (deposition)                                      New Britain
                                                                                               September 27, 2024
State 17.
      of New York v. Kattie Mino (DVSJA)              New York        Queens
                                                                                               December 5, 2024
                                                                      Superior Court of
Yanique
     18. Dash v. Western Express. Inc. (deposition)   Connecticut                              September 30, 2024
                                                                      Stamford
                                                                      United States District
Karen Barzman v. State University of New York,
       19.                                            New York        Court – Northern         October 7, 2024
et al. (deposition)
                                                                      District of New York
Pamela O’Grady v. Auburn Enlarged City School
District,
       20. Auburn Board of Education,                 New York        Cayuga                   November 18, 2024
et al.
